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           EXHIBIT 2
       Case
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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
 LIABILITY LITGATION
                                                    Case No. 16-md-02741-VC
 This document relates to:
                                                    PRETRIAL ORDER NO. 111:
 Hardeman v. Monsanto, 3:16-cv-00525-VC
                                                    ORDER REQUESTING FURTHER
                                                    INFORMATION ON DRS. BENBROOK
                                                    AND WELCH


       It appears from the briefs and Dr. Benbrook’s expert report that the plaintiffs propose to

use Dr. Benbrook to present opinions on virtually every aspect of their case during Phase 2. To

the extent that is what they intend, his testimony is excluded. If the plaintiffs wish to have Dr.

Benbrook present a narrower opinion or opinions, they should file a 5-page brief by 10:00 a.m.

on Thursday, March 14, 2019, articulating with much greater precision the specific opinions they

propose for Dr. Benbrook to offer, including page citations to the sections in his report where

those opinions were disclosed.

       In addition, by 10:00 a.m. on March 14, 2019, Monsanto should file both Dr. Connie

Welch’s report and a letter explaining whether it intends to call Dr. Welch as a witness in the

event that Dr. Benbrook does not testify.

       IT IS SO ORDERED.

Date: March 13, 2019                                  ___________________________
                                                            Honorable Vince Chhabria
                                                            United States District Court
